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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN




Michael Miles,

                                   Plaintiff(s),
v.                                                     Case No. 1:18−cv−10491−TLL−PTM
                                                       Hon. Thomas L. Ludington
Osprey Otsego Properties, LLC,
et al.,

                                   Defendant(s),



                                  ORDER TO SHOW CAUSE

    IT IS HEREBY ORDERED that Plaintiff(s) SHOW CAUSE, in writing, by 8/15/2018, why
the above−entitled case should not be dismissed for failure to prosecute, pursuant to E.D.
Mich LR 41.2. Failure to respond may result in dismissal of the case.




                                                   s/Thomas L. Ludington
                                                   Thomas L. Ludington
                                                   U.S. District Judge




                                      Certificate of Service

   I hereby certify that this Notice was electronically filed, and the parties and/or counsel of
record were served.

                                               By: s/K Winslow
                                                   Case Manager

Dated: August 1, 2018
